     Case 2:14-cr-00021-RMP   ECF No. 2587    filed 11/09/20     PageID.12900 Page 1 of 23




1                                                                FILED IN THE
                                                             U.S. DISTRICT COURT
                                                       EASTERN DISTRICT OF WASHINGTON

2
                                                       Nov 09, 2020
3                                                           SEAN F. MCAVOY, CLERK




4

5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                   NO: 2:14-CR-21-RMP-25
8                              Plaintiff,

9           v.                                     ORDER DENYING DEFENDANT’S
                                                   MOTION TO VACATE, SET ASIDE,
10    JASON C. BROWN (25),                         OR CORRECT SENTENCE

11                            Defendant.

12

13         BEFORE THE COURT is Defendant/Petitioner’s Motion to Vacate, Set

14   Aside, or Correct Sentence under 28 U.S.C. § 2255. ECF No. 2549.

15   Defendant/Petitioner Mr. Brown collaterally attacks his sentence of 75 months for

16   Conspiracy to Distribute Oxycodone Hydrochloride, in violation of 21 U.S.C. §§

17   841(a)(1), (b)(1)(C) and 21 U.S.C. § 46 (Count 2), and for Distribution of

18   Oxycodone Hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) (Count

19   18). Mr. Brown moves for relief on three grounds: (1) Mr. Brown claims he

20   acquired newly discovered evidence that shows that the Government



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 1
     Case 2:14-cr-00021-RMP    ECF No. 2587    filed 11/09/20   PageID.12901 Page 2 of 23




1    “manufactured” Drug Enforcement Agency (“DEA”) lab reports; (2) Mr. Brown

2    claims the Government committed prosecutorial misconduct by submitting

3    “manufactured” DEA lab reports and disseminating a Co-Defendant’s sealed plea

4    agreement; and (3) Mr. Brown claims that his Trial Counsel provided ineffective

5    assistance. See ECF No. 2549 at 4–7. The Court has reviewed the motions,

6    considered the record, and is fully informed.

7                                     BACKGROUND

8        On December 13, 2013, 50 pills were seized in a controlled buy between the

9    Government’s confidential informant and Mr. Brown. ECF No. 1464 at 9. On

10   January 30, 2014, the pills were shipped to a DEA lab for analysis. ECF No. 1296-

11   5. The evidence tested positive for oxycodone hydrochloride. Id. This initial test

12   was performed by former DEA Senior Forensic Chemist Luke Skifich and approved

13   by Laboratory Director Bryan Henderson. Id.

14          Mr. Brown was indicted on February 20, 2014, for one count of Conspiracy to

15   Distribute Oxycodone Hydrochloride (Count 2) and one count of Distribution of

16   Oxycodone Hydrochloride (Count 18). ECF No. 1. Attorney Doug Phelps (“Trial

17   Counsel”) represented Mr. Brown in the underlying criminal proceedings. ECF No

18   559.

19          On March 23, 2015, Mr. Brown filed a Motion for Disclosure of Exculpatory

20   Evidence, requesting documentation of the weight and number of pills seized related



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 2
     Case 2:14-cr-00021-RMP     ECF No. 2587    filed 11/09/20   PageID.12902 Page 3 of 23




1    to the distribution charge, as well as all reports related to the Confidential Informant.

2    ECF No. 1293 at 4. The Court granted the Motion for Disclosure in part “only as it

3    pertains to the disclosure of a redacted copy of the confidential informant’s file ten

4    days before trial.” ECF No. 1407 at 4. The Court noted that “Mr. Brown [had] not

5    provided sufficient facts to show that the Government is in possession of any

6    undisclosed exculpatory evidence” and “[t]he Government adequately has explained

7    the reason why the record shows different weights for the pills that Mr. Brown

8    allegedly sold.” Id. at 3–4.

9          On April 16, 2015, the Government submitted its Notice of Intent to Use

10   Expert Testimony pursuant to Fed. R. Crim. P. 16. ECF No. 1374. The Government

11   listed former DEA Chemist Luke Skifich, who performed the initial test, and

12   potentially another DEA Chemist as witnesses the Government expected to call at

13   trial. Id. However, both parties could not locate Mr. Skifich. ECF No. 2070 at 27,

14   29–30. Thus, the Government had the 50 pills that were seized in the controlled buy

15   from Mr. Brown retested by the DEA and represented to the Court that the results

16   were the same as earlier: the pills contained oxycodone. ECF No. 2070 at 29. The

17   Government stated that it intended to call another DEA Chemist to describe the

18   testing procedure. ECF No. 2070 at 30.

19         Trial commenced on May 4, 2015. ECF No. 1459. On May 5, 2015, Mr.

20   Brown entered a guilty plea pursuant to a Fed. R. Civ. P. 11(c)(1)(C) plea



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 3
     Case 2:14-cr-00021-RMP     ECF No. 2587   filed 11/09/20   PageID.12903 Page 4 of 23




1    agreement. ECF No. 1464. Mr. Brown pled guilty to Count 2 of the Indictment,

2    charging him with Conspiracy to Distribute Oxycodone Hydrochloride, in violation

3    of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and 21 U.S.C. § 846, and Count 18 of the

4    Indictment, charging him with Distribution of Oxycodone Hydrochloride, in

5    violation of 21 U.S.C. §841(a)(1), (b)(1)(C). The Court accepted Mr. Brown’s

6    guilty plea. ECF No. 1467.

7            Pursuant to the plea agreement, Mr. Brown agreed to waive his right to appeal

8    the conviction and sentence. Id. at 15. Mr. Brown further agreed to waive his right

9    to file any post-conviction motions attacking his conviction and sentence, including

10   a motion pursuant to 28 U.S.C. §2255, except one based on ineffective assistance of

11   counsel. Id. The Court accepted Mr. Brown’s guilty plea on May 7, 2015. ECF No.

12   1467.

13           Following the entry of Mr. Brown’s guilty plea, the Government became

14   aware that Mr. Brown allegedly had obtained a sealed plea agreement addendum

15   from a trial exhibit binder that identified a cooperating Co-Defendant by name and

16   who was prepared to testify against Mr. Brown and other Co-Defendants. ECF No.

17   2581 at 3. The Government further learned that Mr. Brown and Co-Defendant

18   Joseph Davis had disseminated the sealed Plea Agreement in jail. Id. at 4.

19           Mr. Brown was indicted on August 18, 2015, for Contempt of Court and

20   Conspiracy to Obstruct Justice by Retaliation Against a Witness. ECF No. 2, Case



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 4
     Case 2:14-cr-00021-RMP    ECF No. 2587    filed 11/09/20   PageID.12904 Page 5 of 23




1    No. 2:15-CR-83-RMP. On February 1, 2016, the Court dismissed the Contempt of

2    Court charge. ECF No. 90, Case No. 2:15-CR-83-RMP. On May 6, 2016, a jury

3    returned a guilty verdict against Mr. Brown for Conspiracy to Obstruct Justice by

4    Retaliation Against a Witness. ECF No. 190, Case No. 2:15-CR-83-RMP.

5          On November 7, 2016, a consolidated sentencing hearing took place for the

6    Conspiracy to Distribute and Distribution of Oxycodone Hydrochloride charges as

7    well as the Conspiracy to Obstruct Justices charge. ECF No. 2025. On the drug

8    related charges, the Court sentenced Mr. Brown to 75 months, a three–year term of

9    supervised release, and a $200 special penalty assessment. ECF No. 2026. On the

10   Conspiracy to Obstruct Justice charge, the Court sentenced Mr. Brown to 60 months,

11   with the sentences to run consecutively. ECF No. 2026; ECF No. 218, Case No.

12   2:15-CR-83-RMP.

13         On November 18, 2016, Mr. Brown filed a Consolidated Notice of Appeal for

14   the drug trafficking and conspiracy to obstruct justice cases. ECF No. 2033. On

15   appeal, Mr. Brown was represented by Robin Collett Emmans (“Appeal Counsel”).

16   ECF No. 2100. Mr. Brown withdrew his appeal related to the drug trafficking

17   charges as well as his argument that he received ineffective assistance of counsel.

18   ECF No. 2386 at 2, n. 1. On December 5, 2018, the Ninth Circuit affirmed the

19   judgment and sentence in the conspiracy to obstruct justice case. ECF No. 2386.

20   The Ninth Circuit issued its formal mandate on December 27, 2018. ECF No. 2389.



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 5
     Case 2:14-cr-00021-RMP    ECF No. 2587     filed 11/09/20   PageID.12905 Page 6 of 23




1          On March 3, 2020, Mr. Brown filed a Motion to Vacate, Set Aside, or Correct

2    Sentence resulting from the Conspiracy to Distribute and Distribution of Oxycodone

3    Hydrochloride charges. ECF No. 2549. Mr. Brown challenges the judgment of

4    conviction and sentence on three grounds: (1) newly discovered evidence; (2)

5    prosecutorial misconduct; and (3) Trial Counsel’s ineffective assistance. Id. The

6    Government argues that Mr. Brown’s collateral attack, based upon claims of newly

7    discovered evidence and prosecutorial misconduct, is barred by the express terms of

8    the plea agreement. See ECF No. 2581. Even if the Court proceeds to the merits of

9    Mr. Brown’s motion, the Government argues that Mr. Brown’s claims are meritless

10   and do not warrant relief. See id.

11                                   LEGAL STANDARD

12         A prisoner in custody may move the court which imposed his or her sentence

13   to vacate, set aside, or correct the sentence because “the sentence was imposed in

14   violation of the Constitution or law of the United States, or that the court was

15   without jurisdiction to impose such sentence, or that the sentence was in excess of

16   the maximum authorized by law, or is subject to collateral attack.” 28 U.S.C.

17   § 2255(a). The claimed error must be “a fundamental defect which inherently

18   results in a complete miscarriage of justice.” Davis v. United States, 417 U.S. 333,

19   346 (1974) (quoting Hill v. United States, 368 U.S. 424, 429 (1962)).

20



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 6
     Case 2:14-cr-00021-RMP    ECF No. 2587    filed 11/09/20   PageID.12906 Page 7 of 23




1           A defendant’s waiver of his right to appeal or file a post-conviction motion

2    pursuant to § 2255 is valid if the defendant consented to express terms knowingly

3    and voluntarily. United States v. Nunez, 223 F.3d 956, 958 (9th Cir. 2000).

4                                       DISCUSSION

5      I.   Evidentiary Hearing

6           Mr. Brown has requested “[a] reduction in [his] 75 month sentence and/or

7    a[n] Evidentiary hearing.” It is unclear whether Mr. Brown’s request is for an

8    evidentiary hearing on his § 2255 motion or with respect to the evidence in the

9    underlying criminal case. See ECF No. 2585 at 8 (“I strongly feel an evidentiary

10   hearing was needed. Had [Trial Counsel] requested one we wouldn’t be here

11   today.”). The Court must address whether an evidentiary hearing on Mr. Brown’s

12   § 2255 motion is warranted before proceeding to the merits.

13          When a prisoner files a § 2255 motion, the district court must grant an

14   evidentiary hearing “[u]nless the motion and the files and records of the case

15   conclusively show that the prisoner is entitled to no relief.” 28 U.S.C. § 2255(b).

16   Evidentiary hearings are particularly appropriate when “claims raise facts which

17   occurred out of the courtroom and off the record.” United States v. Burrows, 872

18   F.2d, 915, 917 (9th Cir. 1989). However, “courts may use discovery or

19   documentary evidence to expand the record.” Shah v. United States, 878 F.2d 1156,

20   1159 (9th Cir. 1989) (citing Watts v. United States, 841 F.2d 275, 277 (9th Cir.



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 7
     Case 2:14-cr-00021-RMP      ECF No. 2587    filed 11/09/20   PageID.12907 Page 8 of 23




1    1988)). “Section 2255 requires only that the district court give a claim ‘careful

2    consideration and plenary processing, including full opportunity for presentation of

3    the relevant facts.’” Shah, 878 F.2d at 1159 (citations omitted).

4            Here, the record before the Court includes transcripts of the pretrial

5    conferences, the change of plea hearing, and the sentencing hearing 1, as well as

6    motion practice by counsel with respect to the evidence that Mr. Brown maintains

7    was “manufactured.” Upon considering the record, in addition to this Court’s own

8    recollections of the proceedings, the Court finds that the record is sufficiently

9    complete and, therefore, declines to hold an evidentiary hearing. See e.g., Shah, 878

10   F.2d at 1160 (affirming district court’s decision to not hold an evidentiary hearing

11   based on a record which included, among other documents, transcripts of the plea

12   and sentencing hearings as well as the judge’s own recollections). Here, the record

13   permits the Court to give Mr. Brown’s allegations “careful consideration and plenary

14   processing” without an evidentiary hearing. Watts, 841 F.2d at 277 (quoting

15   Blackledge v. Allison, 431 U.S. 63, 82–83 (1977)). As is made clear supra, the

16   Court is adequately apprised of the relevant facts and can evaluate Mr. Brown’s

17   claims based on the record before the Court.

18   / / /

19

20   1
         ECF Nos. 2059, 2070, 2071.


     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 8
     Case 2:14-cr-00021-RMP    ECF No. 2587    filed 11/09/20   PageID.12908 Page 9 of 23




1     II.   Procedurally Defaulted Claims

2           The Government argues that Mr. Brown’s collateral attack based on newly

3    discovered evidence showing that the lab reports were “manufactured” as well as

4    allegations of prosecutorial misconduct is barred by the plea agreement entered into

5    by Mr. Brown. ECF No. 2581 at 5.

6           A § 2255 motion is a statutory right and “[a] knowing and voluntary waiver of

7    a statutory right is enforceable.” United States v. Abarca, 985 F.2d 1012, 1014 (9th

8    Cir. 1993). Generally, courts will enforce a § 2255 waiver if (1) the language of the

9    waiver encompasses a defendant’s right to file a § 2255 motion on the grounds

10   claimed in the motion, and (2) the waiver is knowingly and voluntarily made.

11   United States v. Nunez, 223 F.3d 956, 958 (9th Cir. 2000); see also United States v.

12   Rodriguez, 2018 WL 3966958 at *2 (E.D. Wash. Aug. 17, 2018) (dismissing

13   petitioner’s 28 U.S.C. § 2255 motion based upon valid waiver in plea agreement).

14          Here, the plea agreement entered into by Mr. Brown states that:

15          [t]he Defendant further expressly waives his right to file any post-
            conviction motions attacking his conviction or sentence, including a
16          motion pursuant to 28 U.S.C. § 2255, except one based on ineffective
            assistance of counsel based upon information not now known by the
17          Defendant, and which, in the exercise of due diligence, could not have
            been known by the Defendant by the time the Court imposes the
18          sentence.

19   ECF No. 1464 at 15.

20



     ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
     CORRECT SENTENCE ~ 9
     Case 2:14-cr-00021-RMP    ECF No. 2587     filed 11/09/20   PageID.12909 Page 10 of 23




1           First, the § 2255 waiver in the plea agreement is express, explicitly stating that

2     Mr. Brown relinquished his right to file any post-conviction motion attacking his

3     conviction and sentence, including a motion pursuant to 28 U.S.C. § 2255. ECF No.

4     1464 at 15. Thus, the language of the waiver encompasses Mr. Brown’s right to file

5     a § 2255 motion based on newly discovered evidence and prosecutorial misconduct.

6           Second, the Court already found that Defendant entered the plea agreement,

7     including the waiver, knowingly and voluntarily. ECF No. 1467. In addition, the

8     Court reviewed the plea agreement, including the waiver of collateral attack rights,

9     with Mr. Brown at the change of plea hearing. ECF No. 2071 at 16.

10          Mr. Brown contends that he did not enter into the plea agreement knowingly

11    because “he plead guilty to the pills being tested and confirmed by the DEA Lab,”

12    and this is allegedly incorrect because the pills were retested by the Washington

13    State Crime Lab. ECF Nos. 1467 at 10; 2585 at 3–4. However, the record indicates

14    that the pills were sent back to the DEA for retesting and the retest purportedly

15    confirmed the initial results: that the pills purchased from Mr. Brown contained

16    oxycodone hydrochloride. ECF Nos. 2070 at 29; 2549 at 21–22 (initial test

17    performed by former DEA Senior Forensic Chemist Luke Skifich). Furthermore,

18    Mr. Brown’s knowledge of where the pills were tested is not material to the plea

19    agreement. Mr. Brown knowingly pled guilty to the crimes of Conspiracy to

20    Distribute Oxycodone Hydrochloride and Distribution of Oxycodone Hydrochloride,



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 10
     Case 2:14-cr-00021-RMP    ECF No. 2587     filed 11/09/20   PageID.12910 Page 11 of 23




 1    not to where the pills were or were not tested for oxycodone. The initial test results

 2    showed that the pills contained oxycodone hydrochloride, and the retest allegedly

 3    confirmed this result. Therefore, Mr. Brown presents no new facts that cast doubt

 4    on his knowledge of the elements of the offense or the voluntariness of his waiver.

 5          The Court finds that Mr. Brown knowingly and voluntarily relinquished his

 6    right to file a post-conviction motion pursuant to 28 U.S.C. § 2255, except one based

 7    upon ineffective assistance of counsel. Accordingly, the Court will consider only

 8    Mr. Brown’s Motion with respect to his claim that Trial Counsel failed to provide

 9    effective assistance.

10 III.     Ineffective Assistance of Counsel

11          As noted above, Mr. Brown expressly waived the right to file a motion

12    pursuant to § 2255, “except one based on ineffective assistance of counsel based

13    upon information not [ ] known by the Defendant, and which, in the exercise of due

14    diligence, could not have been known by the Defendant by the time the Court

15    imposes the sentence.” ECF No. 1464 at 15. Mr. Brown argues that his Trial

16    Counsel failed to provide ineffective assistance in the following ways: (1) Trial

17    Counsel failed to challenge the lab reports as “manufactured”; (2) Trial Counsel

18    failed to request an evidentiary hearing; (3) Trial Counsel failed to timely inform

19    Mr. Brown that the Government was retesting the evidence; (4) Trial Counsel failed

20    to subpoena former DEA Chemist Luke Skifich; and (5) Trial Counsel allegedly



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 11
     Case 2:14-cr-00021-RMP      ECF No. 2587    filed 11/09/20   PageID.12911 Page 12 of 23




1     disseminated a Co-Defendant’s sealed plea agreement to Mr. Brown and informed

2     Mr. Brown that it was permissible for him to possess the sealed plea agreement of a

3     Co-Defendant. ECF No. 2549 at 7.

4             In order to prevail on an ineffective assistance of counsel claim, a defendant

5     must show: (1) that counsel’s performance was deficient; and (2) that counsel’s

6     deficient performance prejudiced the defense. Strickland v. Washington, 466 U.S.

7     668, 687 (1984). To satisfy the first prong, a defendant must show that “counsel’s

8     representation fell below an objective standard of reasonableness.” Id. at 688. To

9     satisfy the second prong regarding prejudice, a defendant must show that “there is a

10    reasonable probability that, but for counsel’s unprofessional errors, the result of the

11    proceedings would have been different.” Id. at 694. “A reasonable probability is a

12    probability sufficient to undermine confidence in the outcome.” Id.

13            There is a “strong presumption that counsel’s conduct falls within the wide

14    range of professional assistance.” Id. at 689. “[T]he defendant must overcome the

15    presumption that, under the circumstances, the challenged action might be

16    considered sound trial strategy.” Id. The Court addresses each alleged failure in

17    turn.

18    //

19    //

20



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 12
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12912 Page 13 of 23




1        1. Failure to challenge allegedly manufactured lab reports

2           Mr. Brown argues that Trial Counsel’s assistance was ineffective because

3     Trial Counsel failed to challenge the authenticity of the lab reports by former DEA

4     Chemist Luke Skifich. ECF Nos. 2549 at 7; 2585 at 6. Mr. Brown maintains that

5     the report was “manufactured” by the Government. ECF No. 2549 at 4.

6           Defense counsel has no duty to raise baseless or meritless arguments. See

7     Baumann v. United States, 692 F.2d 565, 572 (9th Cir. 1982); see also United States

8     v. Tziu-Uc, 2018 WL 664800 at *6 (D. Ore. Feb. 1, 2018) (finding that counsel’s

9     conduct of entering into a stipulation regarding drugs, their weights, and their

10    purities, and not challenging the evidence as “fabricated,” did not fall below an

11    objective standard of reasonableness).

12          Although Trial Counsel did not specifically challenge the lab report as

13    “manufactured” evidence, the record shows adequate effort by Trial Counsel aimed

14    at challenging the veracity of the lab report results as well as the introduction of

15    evidence from the retest. Trial Counsel sought and was provided two opportunities

16    to review the physical evidence. ECF No. 1338 at 8. At the pretrial stage, Trial

17    Counsel filed a Motion for Disclosure of Exculpatory Evidence seeking all

18    discovery relevant to the 50 pills seized, all reports documenting the weight and

19    number of pills seized, as well as all reports related to the Confidential Informant in

20



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 13
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12913 Page 14 of 23




1     furtherance of Defense’s theory that the Confidential Informant supplied the

2     Government with fake drugs. ECF Nos. 1296 at 4, 1360.

3           At the final pretrial conference, Trial Counsel further objected to introduction

4     of the new test and corresponding report, as well as argued that the inability to

5     examine former DEA Chemist Luke Skifich, who performed the initial testing, was

6     prejudicial to Mr. Brown. ECF 2070 at 24. Trial Counsel made the Court aware

7     that “part of the reason that Mr. Brown rejected [plea] offers was that

8     . . . he anticipated that [Luke Skifich] would be coming to court to testify based upon

9     the pleadings from the government.” Id. at 32. In the alternative, Trial Counsel

10    moved for a continuance to allow further inquiry with respect to the substitute

11    chemist. Id. at 26. Thus, the record shows that Trial Counsel’s efforts were

12    objectively reasonable with respect to challenging the physical evidence.

13          In furtherance of his theory that the reports were “manufactured,” Mr. Brown

14    alleges that the signatures on the initial lab report, including the signature of

15    Laboratory Director Bryan Henderson, were forged. ECF No. 2549 at 21. However,

16    Bryan Henderson’s signature appears manifestly the same in another unrelated lab

17    report proffered by Mr. Brown. ECF No. 2549 at 38. Therefore, Mr. Brown has not

18    overcome the presumption that Trial Counsel’s decision to not challenge the

19    authenticity of the lab reports as “manufactured” evidence was sound trial strategy.

20    See Strickland, 466 U.S. at 689.



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 14
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12914 Page 15 of 23




1           Accordingly, Mr. Brown’s claim that Trial Counsel provided ineffective

2     assistance by failing to challenge the lab reports as “manufactured” evidence does

3     not meet the first prong of the Strickland test.

4        2. Failure to request an evidentiary hearing

5           Mr. Brown claims that Trial Counsel’s assistance was ineffective because

6     Trial Counsel failed to request an evidentiary hearing. ECF No. 2549 at 7.

7     Assuming that Mr. Brown’s claim is premised upon Trial Counsel’s decision to not

8     request an evidentiary hearing to challenge the lab reports as “manufactured”

9     evidence, Trial Counsel’s conduct, as detailed above, was objectively reasonable.

10    See Strickland, 466 U.S. at 688. To the extent counsel has no duty to raise baseless

11    or meritless arguments, it logically follows that counsel is under no duty to request

12    an evidentiary hearing to raise those baseless or meritless arguments. See Baumann,

13    692 F.2d 565, 572 (9th Cir. 1982). Therefore, Mr. Brown’s claim that Trial Counsel

14    provided ineffective assistance by failing to request an evidentiary hearing does not

15    meet the first prong of the Strickland test.

16       3. Failure to inform Defendant of evidence retesting

17          Mr. Brown contends that Trial Counsel’s assistance was ineffective because

18    Trial Counsel failed to inform Mr. Brown in a timely fashion that the evidence in his

19    case would be retested. Mr. Brown argues that had he been so informed, he would

20



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 15
     Case 2:14-cr-00021-RMP     ECF No. 2587    filed 11/09/20   PageID.12915 Page 16 of 23




1     have accepted the original plea agreement that offered a sentencing recommendation

2     of 48 months. ECF No. 2549 at 7.

3           The Strickland two-prong test applies to ineffectiveness claims arising from

4     the plea process. Hill v. Lockhart, 474 U.S. 52, 57–58 (1985). The first part of the

5     inquiry is whether “counsel’s advice ‘was within the range of competence demanded

6     of attorneys in criminal cases.’” Id. at 56, (quoting McMann v. Richardson, 397

7     U.S. 759, 771 (1970)). “[A] defendant has the right to make a reasonably informed

8     decision whether to accept a plea offer.” Turner v. Calderon, 281 F.3d 851, 880

9     (quoting United States v. Day, 969 F.2d 39, 43 (3d. Cir. 1992)). Defendant must

10    demonstrate that “the advice . . . he received was so incorrect and so insufficient that

11    it undermined his ability to make an intelligent decision about whether to accept the

12    [plea] offer.” Turner, 281 F.3d at 880 (quoting Day, 969 F.2d at 43). The second

13    part “focuses on whether counsel’s constitutionally ineffective performance affected

14    the outcome of the plea process.” Hill, 474 U.S. at 59. To satisfy the “prejudice”

15    requirement, Mr. Brown must show that, “but for counsel’s error, he would have

16    pleaded guilty [earlier] and would not have insisted on going to trial.” Id.

17          With respect to the first Strickland inquiry, Mr. Brown does not allege that

18    Trial Counsel failed to inform him about the plea offer. Nor does Mr. Brown allege

19    that Trial Counsel affirmatively misled him about the law. See Turner, 281 F.3d at

20    880. Furthermore, Mr. Brown does not allege that the advice he received from Trial



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 16
     Case 2:14-cr-00021-RMP    ECF No. 2587     filed 11/09/20   PageID.12916 Page 17 of 23




1     Counsel was “so incorrect and so insufficient that it undermined his ability to make

2     an intelligent decision” when he rejected the offer[s] previously made by the

3     Government. Indeed, by Mr. Brown’s own admission, “many efforts were made by

4     [Trial Counsel] to get [Mr. Brown] to plead guilty.” ECF No. 2549 at 16. Rather,

5     Mr. Brown claims that Trial Counsel’s failure to timely inform him about the

6     retesting of evidence deprived Mr. Brown of the ability to accept a different plea

7     deal with a lower recommended sentence.

8           Mr. Brown claims that Trial Counsel informed him on May 1, 2015, three

9     days prior to the commencement of trial, that the evidence was going to be retested

10    and former DEA Chemist Luke Skifich would not be appearing. ECF No. 2549 at

11    17. Mr. Brown admits, however, that at the pretrial conference held on April 20,

12    2015, “[the Government] did make mention . . . that they may have to resubmit pills

13    to be retested.” ECF No. 2585 at 8. In other words, Mr. Brown was informed as of

14    April 20, 2015, of the possibility that the pills may be retested. Trial Counsel merely

15    confirmed to Mr. Brown that such possibility had materialized on May 1, 2015.

16          Even if this delay in communication fell below the objective standard of

17    performance, which the Court does not find, Mr. Brown has failed to show that the

18    alleged delay in confirming that the pills were going to be retested affected the

19    outcome of the plea process. Based on Mr. Brown’s own admission, Trial Counsel

20    advised Mr. Brown to accept previous deals. ECF No. 2549 at 17. Additionally,



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 17
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12917 Page 18 of 23




1     Mr. Brown’s self-serving statements that he would have accepted the plea deal

2     earlier are insufficient to establish that he made a less than fully informed decision in

3     rejecting the Government’s previous offers. See Turner, 281 F.3d at 881 (“If the

4     rule were otherwise, every rejection of a plea offer . . . could be relitigated upon

5     defendant’s later claim that had his counsel better advised him, he would have

6     accepted the plea offer.”). Furthermore, there is no evidence that the more favorable

7     deal was still on the table when Trial Counsel and Mr. Brown were made aware that

8     the evidence in Mr. Brown’s case was going to be retested by the DEA. ECF No.

9     2549 at 17. The Government’s decision to change a plea agreement’s terms as the

10    case nears trial is not a part of the plea process that is within Trial Counsel’s control.

11          Accordingly, Mr. Brown’s claim that Trial Counsel provided ineffective

12    assistance by allegedly failing to inform Mr. Brown in a timely manner about the

13    retesting of evidence does not meet the Strickland test as it applies to the plea

14    process.

15       4. Failure to subpoena former DEA Chemist Luke Skifich

16          Mr. Brown also argues that Trial Counsel’s assistance was ineffective

17    because Trial Counsel failed to subpoena former DEA chemist Luke Skifich who

18    initially tested the evidence in the case against Mr. Brown. ECF No. 2549 at 7.

19          “An attorney’s failure to locate an exculpatory witness does not constitute

20    ineffective assistance of counsel when evidence indicates the witness is in hiding.”



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 18
     Case 2:14-cr-00021-RMP     ECF No. 2587    filed 11/09/20   PageID.12918 Page 19 of 23




1     United States v. Vidales, 143 Fed.Appx 52 (9th Cir. 2005); see also Schad v. Ryan,

2     671 F.3d 708, 717 (rejecting ineffective assistance of counsel claim because

3     although witness was not located, counsel’s efforts to locate witness were

4     nonetheless “diligent and thorough”).

5           At the final pretrial conference, the Court asked Trial Counsel if he had

6     subpoenaed Mr. Skifich. ECF No. 2070 at 27. Trial Counsel replied:

7           Judge, the problem is, I think we tried to locate him, haven’t been able
            to find him. We tried to call the DEA lab and ask for people there and
8           really didn’t get any cooperation by even the person that’s in charge of
            the lab, Mr. Henderson, who I think who has signed off on those lab
9           tests.

10    Id. Trial Counsel’s inability to locate Mr. Skifich was shared by the Government,

11    which represented to the Court that “[it] had difficulty locating the chemist as well.

12    He’s left, he’s on his own, which is why [it] decided to have the drugs retested, to

13    allow a chemist to be here in the court to describe the testing procedure.” Id. at 29–

14    30. Thus, although Trial Counsel did not subpoena Mr. Skifich, the record shows

15    that Trial Counsel made a good faith effort to locate the former DEA chemist. Trial

16    Counsel’s efforts are underscored by the Government’s shared inability to locate

17    their own witness.

18          Even if Trial Counsel’s failure to subpoena Mr. Skifich was deficient, Mr.

19    Brown must show there is a reasonable probability that the result of the proceeding

20    would have been different. The record is clear that Mr. Brown’s decision to proceed



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 19
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12919 Page 20 of 23




1     to trial was motivated by the prospect of cross-examining the lab chemist who

2     performed the initial test in furtherance of Defense’s case theory that the initial

3     report was “manufactured.” ECF Nos. 2549 at 17; 2070 at 27. However, Mr.

4     Brown offers no indication of what Mr. Skifich would have testified to in support of

5     the claim that the initial report was “manufactured.” See United States v. Berry, 814

6     F.2d 1406, 1409 (9th Cir. 1987) (rejecting ineffective assistance of counsel claim

7     where there was no explanation as to how witnesses’ testimony would have changed

8     the outcome of the hearing). Furthermore, the retest allegedly confirmed the initial

9     report’s result: the pills seized in the buy from Mr. Brown contained oxycodone.

10    ECF No. 2070 at 29.

11          Accordingly, Mr. Brown’s claim that Trial Counsel provided ineffective

12    assistance by failing to subpoena former DEA Chemist Luke Skifich does not meet

13    the Strickland test.

14       5. Dissemination of Co-Defendant’s Sealed Plea Agreement

15          Finally, Mr. Brown claims that Trial Counsel disseminated Co-Defendant’s

16    sealed plea agreement to Mr. Brown and allegedly instructed Mr. Brown that he

17    could be in possession of said agreement. ECF No. 2549 at 7. Mr. Brown asserts

18    that the Government improperly exposed the sealed plea agreement to Trial Counsel

19    who turned over the document to Mr. Brown when he asked Trial Counsel for the

20



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 20
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12920 Page 21 of 23




1     exhibit, in a concerted effort to entice Mr. Brown to plead guilty. ECF Nos. 2549 at

2     5, 2585 at 4.

3           As noted above, in addition to showing that counsel’s performance was

4     deficient, a petitioner must show that “there is a reasonable probability that, but for

5     counsel’s unprofessional errors, the result of the proceedings would have been

6     different.” Strickland, 466 U.S. at 694. It is permissible to skip straight to the

7     prejudice question “[i]f it easier to dispose of an ineffectiveness claim on [that]

8     ground.” Id. at 697.

9           Regardless of whether Mr. Brown’s possession of the Co-Defendant’s sealed

10    plea agreement can be attributed to Trial Counsel, Mr. Brown has failed to show that

11    “there is a reasonable probability that, but for counsel’s [alleged] unprofessional

12    errors, the result of the proceedings would have been different.” Id. at 694. Mr.

13    Brown was indicted and convicted in a separate proceeding stemming from his

14    possession of the protected documents. See Case No. 2:15-CR-83-RMP. Mr.

15    Brown has failed to show that the result of these proceedings, related to drug

16    trafficking charges, would have resulted in a different outcome but for the

17    dissemination of the Co-Defendant’s plea agreement after-the-fact. As the Court

18    already found, Mr. Brown entered a plea of guilty voluntarily and knowingly. ECF

19    Nos. 1467, 2071 at 18 (“I take responsibility for what I’ve done . . . I plead guilty to

20    my relevant conduct.”).



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 21
     Case 2:14-cr-00021-RMP     ECF No. 2587     filed 11/09/20   PageID.12921 Page 22 of 23




1           Therefore, Mr. Brown’s claim that Trial Counsel provided ineffective

2     assistance by allegedly disseminating the sealed plea agreement does not meet the

3     second prong of the Strickland test.

4           In conclusion, the Court has no basis to vacate, set aside, or correct Mr.

5     Brown’s sentence. An appeal of this Order may not be taken unless a circuit judge

6     or district judge issues a certificate of appealability (COA). 28 U.S.C. § 2253(c)(1).

7     The Court may only issue a COA “if the applicant has made a substantial showing of

8     the denial of a constitutional right.” Id. “The petitioner must demonstrate that

9     reasonable jurists would find the district court’s assessment of the constitutional

10    claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 120 (2000). Based

11    upon the record before the Court, the resolution of the issue of ineffective assistance

12    of counsel is not debatable among reasonable jurists and this issue does not warrant

13    further proceedings. Therefore, a certificate of appealability shall not issue as to the

14    ineffective assistance of counsel claim.

15          Accordingly, IT IS HEREBY ORDERED:

16          1. Mr. Brown’s Motion to Vacate, Set Aside, or Correct Sentence, ECF No.

17              2549, is DENIED.

18          2. In so ruling, the Court finds that an evidentiary hearing is not necessary

19              because the motions, files, and records of the case conclusively show that

20              the Mr. Brown is not entitled to relief.



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 22
     Case 2:14-cr-00021-RMP    ECF No. 2587     filed 11/09/20   PageID.12922 Page 23 of 23




1           3. A Certificate of Appealability is not issued as to whether Mr. Brown’s

2              Trial Counsel provided ineffective assistance of counsel. If Mr. Brown

3              wishes to appeal, he must file a timely notice of appeal with the Clerk of

4              Court. Mr. Brown may seek a certificate of appealability from the Ninth

5              Circuit by filing a request in that court.

6           IT IS SO ORDERED. The District Court Clerk is directed to enter this

7     Order and provide copies to counsel and Mr. Brown.

8           DATED this November 9, 2020

9
                                                     s/ Rosanna Malouf Peterson
10                                                ROSANNA MALOUF PETERSON
                                                   United States District Court Judge
11

12

13

14

15

16

17

18

19

20



      ORDER DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR
      CORRECT SENTENCE ~ 23
